        Case 3:20-cv-05218-WHO Document 52 Filed 09/03/21 Page 1 of 36




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10   Class Counsel

11
                             IN THE UNITED STATES DISTRICT COURT
12
                               NORTHERN DISTRICT OF CALIFORNIA
13

14   DEBORAH JORDAN, individually and on                Case No. 3:20-cv-05218-WHO
     behalf of all others similarly situated,
15
                                                        PLAINTIFF’S NOTICE OF MOTION
                          Plaintiff,                    AND MOTION FOR AN AWARD OF
16
                                                        ATTORNEYS’ FEES, COSTS AND
                     v.                                 EXPENSES, AND INCENTIVE
17
                                                        AWARD; SUPPORTING
18   WP COMPANY LLC, d/b/a THE                          MEMORANDUM OF POINTS AND
     WASHINGTON POST,                                   AUTHORITIES
19
                          Defendant.                    Date: November 17, 2021
20                                                      Time: 2:00 p.m.
                                                        Courtroom: 2, 17th Floor
21                                                      Judge: Hon. William H. Orrick

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     MOTION FOR AWARD OF ATTORNEYS’ FEES, COSTS AND EXPENSES, AND INCENTIVE AWARD
     CASE NO. 3:20-CV-05218-WHO
        Case 3:20-cv-05218-WHO Document 52 Filed 09/03/21 Page 2 of 36




 1
     TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2
              NOTICE IS HEREBY GIVEN THAT on November 17, 2021, at 2:00 p.m., or as soon
 3
     thereafter as counsel may be heard by the above-captioned Court, located at the San Francisco
 4
     United States Courthouse, 450 Golden Gate Avenue, San Francisco, CA 94102, in Courtroom 2 on
 5
     the 17th Floor before the Honorable William H. Orrick, Plaintiff Deborah Jordan (“Plaintiff”) and
 6
     Class Counsel, Bursor & Fisher, P.A., will and hereby do move, pursuant to Fed. R. Civ. P. 23(e)
 7
     and the Court’s July 8, 2021 Order Preliminarily Approving Class Action Settlement, ECF No. 50,
 8
     for an order: (1) awarding $2,000,000 in attorneys’ fees, costs, and expenses to Class Counsel; (2)
 9
     approving the payment of an incentive award in the amount of $5,000 to Plaintiff as the Class
10
     Representative, in recognition of Plaintiff’s efforts on behalf of the Settlement Class; and (3)
11
     awarding such other and further relief as the Court deems reasonable and just.
12
              This motion is made on the grounds that an award of attorneys’ fees, costs and expenses,
13
     and payment of incentive fees is proper, given that the Parties have agreed that Class Counsel may
14
     make such applications in the Settlement Agreement, the work of Class Counsel has conferred
15
     substantial benefits to the Class, and such awards are permitted under the laws of this Circuit.
16
              This Motion is based on the attached Memorandum of Points and Authorities, the
17
     accompanying Declaration of Frederick J. Klorczyk III (the “9/3/21 Klorczyk Decl.”) and the
18
     exhibits attached thereto, including the Parties’ Stipulation of Class Action Settlement and Release
19
     (the “Settlement” or “Settlement Agreement”); the Declaration of Deborah Jordan (the “Jordan
20
     Decl.”); the [Proposed] Final Approval Order submitted herewith; the pleadings and papers on file
21
     in this Action; and any other such evidence and argument as may subsequently be presented to the
22
     Court.
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     MOTION FOR AWARD OF ATTORNEYS’ FEES, COSTS AND EXPENSES, AND INCENTIVE AWARD                        i
     CASE NO. 3:20-CV-05218-WHO
       Case 3:20-cv-05218-WHO Document 52 Filed 09/03/21 Page 3 of 36




 1   Dated: September 3, 2021             Respectfully submitted,
 2                                        BURSOR & FISHER, P.A.
 3
                                          By:      /s/ Frederick J. Klorczyk III
 4
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                                                   jvenditti@bursor.com
12
                                          Class Counsel
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     MOTION FOR AWARD OF ATTORNEYS’ FEES, COSTS AND EXPENSES, AND INCENTIVE AWARD            ii
     CASE NO. 3:20-CV-05218-WHO
            Case 3:20-cv-05218-WHO Document 52 Filed 09/03/21 Page 4 of 36




 1
                                                        TABLE OF CONTENTS
 2
                                                                                                                                         PAGE(S)
 3
     I.        INTRODUCTION .................................................................................................................. 1
 4
     II.       FACTUAL AND PROCEDURAL BACKGROUND ........................................................... 3
 5
               A.        California’s Automatic Renewal Law ........................................................................ 3
 6
               B.        Plaintiff’s Allegations ................................................................................................. 4
 7
               C.        The Litigation History And Work Performed To Benefit The Class ......................... 4
 8
     III.      SUMMARY OF THE SETTLEMENT .................................................................................. 7
 9
     IV.       CLASS COUNSEL’S REQUESTED ATTORNEYS’ FEES AWARD IS
10             FAIR AND REASONABLE AND SHOULD BE APPROVED ........................................... 8

11             A.        The Court Should Award Attorneys’ Fees Under The Percentage Of
                         The Benefit Method .................................................................................................... 9
12
                         1.         The Total Value Of The Settlement Exceeds $6.7 Million ............................ 9
13
                         2.         The Automatic Account Credit Codes Should Be Valued At
14                                  Their Face Value .......................................................................................... 10

15                       3.         All Relevant Factors Favor An Upward Departure From The
                                    Ninth Circuit’s 25% Benchmark To 29% .................................................... 13
16
                                    a.        Class Counsel Achieved Extraordinary Results For
17                                            The Class .......................................................................................... 13

18                                  b.        Plaintiff’s Novel Claims Carried Substantial
                                              Litigation Risk .................................................................................. 14
19
                                    c.        Class Counsel Generated Benefits Beyond The
20                                            Settlement Fund ................................................................................ 16

21                                  d.        Market Rates As Reflected by Awards in Similar
                                              Cases ................................................................................................. 17
22
                                    e.        The Contingent Nature Of The Fee And Financial
23                                            Burden Borne By Class Counsel ...................................................... 20

24                       4.         The Requested Attorneys’ Fees Are Also Reasonable Under
                                    A Lodestar Cross-Check............................................................................... 21
25
                                    a.        Class Counsel Spent A Reasonable Number Of Hours
26                                            On This Litigation At A Reasonable Hourly Rate ........................... 21

27                                  b.        All Relevant Factors Support Applying A Multiplier
                                              To Class Counsel’s Lodestar ............................................................ 22
28

     MOTION FOR AWARD OF ATTORNEYS’ FEES, COSTS AND EXPENSES, AND INCENTIVE AWARD                                                                  iii
     CASE NO. 3:20-CV-05218-WHO
          Case 3:20-cv-05218-WHO Document 52 Filed 09/03/21 Page 5 of 36




 1   V.      THE REQUESTED INCENTIVE AWARD FOR THE CLASS
             REPRESENTATIVE IS FAIR AND REASONABLE ........................................................ 24
 2
     VI.     CONCLUSION .................................................................................................................... 25
 3

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     MOTION FOR AWARD OF ATTORNEYS’ FEES, COSTS AND EXPENSES, AND INCENTIVE AWARD                                                          iv
     CASE NO. 3:20-CV-05218-WHO
         Case 3:20-cv-05218-WHO Document 52 Filed 09/03/21 Page 6 of 36




 1                                                    TABLE OF AUTHORITIES
 2
                                                                                                                                    PAGE(S)
 3
     CASES
 4
     Aguilar v. Wawona Frozen Foods,
 5
       2017 WL 2214936 (E.D. Cal. May 19, 2017) .............................................................................. 23
 6
     Alvarez v. Farmers Ins. Exch.,
 7     2017 WL 2214585 (N.D. Cal. Jan. 18, 2017)..................................................................... 9, 13, 19

 8   Barbosa v. Cargill Meat Sols. Corp.,
       297 F.R.D. 431 (E.D. Cal. 2013) .................................................................................................. 21
 9
     Bebchick v. Washington Metro. Area Transit Comm’n,
10
       805 F.2d 396 (D.C. Cir. 1986)...................................................................................................... 17
11
     Blandino v. MCM Constr., Inc.,
12     2014 WL 11369763 (N.D. Cal. Mar. 6, 2014) ......................................................................... 3, 17

13   Blum v. Stenson,
       465 U.S. 886 (1984) ..................................................................................................................... 23
14
     Bos. & Maine Corp. v. Sheehan, Phinney, Bass & Green, P.A.,
15     778 F.2d 890 (1st Cir. 1985) ........................................................................................................ 23
16
     Browning v. Yahoo! Inc.,
17     2007 WL 4105971 (N.D. Cal. 2007) ............................................................................................ 11

18   Cicero v. DirecTV, Inc.,
       2010 WL 2991486 (C.D. Cal. July 27, 2010) .............................................................................. 19
19
     Cody v. SoulCycle Inc.,
20     2017 WL 6550682 (C.D. Cal. Oct. 3, 2017) .......................................................................... 12, 15
21   Consumer Privacy Cases,
22     175 Cal. App. 4th 545 (2009) ......................................................................................................... 9

23   Cosgrove v. Sullivan,
       759 F. Supp. 166 (S.D.N.Y. 1991) ............................................................................................... 23
24
     Craft v. Cnty. Of San Bernardino,
25     624 F. Supp. 2d 1113 (C.D. Cal. 2008) .................................................................................. 19, 23
26   Fernandez v. Victoria Secret Stores, LLC,
27     2008 WL 8150856 (C.D. Cal. July 21, 2008) .............................................................................. 12

28

     MOTION FOR AWARD OF ATTORNEYS’ FEES, COSTS AND EXPENSES, AND INCENTIVE AWARD                                                               i
     CASE NO. 3:20-CV-05218-WHO
         Case 3:20-cv-05218-WHO Document 52 Filed 09/03/21 Page 7 of 36




 1   Fischel v. Equitable Life Assur. Soc’y of U.S.,
       307 F.3d 997 (9th Cir. 2002) .......................................................................................................... 8
 2
     Garner v. State Farm Mut. Auto. Ins. Co.,
 3
       2010 WL 1687829 (N.D. Cal. Apr. 22, 2010) .............................................................................. 18
 4
     Garner v. State Farm Mut. Auto. Ins. Co.,
 5     2010 WL 1687832 (N.D. Cal. Apr. 22, 2010) .............................................................................. 20

 6   Greko v. Diesel U.S.A., Inc.,
       2013 WL 1789602 (N.D. Cal. Apr. 26, 2013) .............................................................................. 19
 7
     Hanlon v. Chrysler Corp.,
 8
       150 F.3d 1011 (9th Cir. 1998) .................................................................................................. 8, 23
 9
     Hartless v. Clorox Co.,
10     273 F.R.D. 630 (S.D. Cal. 2011) .................................................................................................... 9

11   Hendricks v. Ference,
       754 F. App’x 510 (9th Cir. 2018) ........................................................................................... 11, 12
12
     Hensley v. Eckerhart,
13     461 U.S. 424 (1983) ..................................................................................................................... 22
14
     In re Activision Sec. Litig.,
15      723 F. Supp. 1373 (N.D. Cal. 1989) ............................................................................................. 18

16   In re Amgen Inc. Sec. Litig.,
        2016 WL 10571773 (C.D. Cal. Oct. 25, 2016) ...................................................................... 21, 22
17
     In re Beverly Hills Fire Litig.,
18      639 F. Supp. 915 (E.D. Ky. 1986) ................................................................................................ 23
19   In re Bluetooth Headset Prods. Liab. Litig.,
20      654 F.3d 935, 942 (9th Cir. 2011) .................................................................................................. 9

21   In re Cenco Inc. Sec. Litig.,
        519 F. Supp. 322 (N.D. Ill. 1981) ................................................................................................. 23
22
     In re HP Inkjet Printer Litig.,
23      716 F.3d 1173 (9th Cir. 2013) ...................................................................................................... 12
24   In re HPL Techs., Inc. Sec. Litig.,
25      366 F. Supp. 2d 912 (N.D. Cal. 2005) .......................................................................................... 21

26   In re Lidoderm Antitrust Litig.,
        2018 WL 4620695 (N.D. Cal. Sept. 20, 2018) ............................................................................... 9
27
     In re Mego Fin. Corp. Sec. Litig.,
28      213 F.3d 454 (9th Cir. 2000) ........................................................................................................ 18

     MOTION FOR AWARD OF ATTORNEYS’ FEES, COSTS AND EXPENSES, AND INCENTIVE AWARD                                                              ii
     CASE NO. 3:20-CV-05218-WHO
         Case 3:20-cv-05218-WHO Document 52 Filed 09/03/21 Page 8 of 36




 1   In re Omnivision Techs., Inc.,
        559 F. Supp. 2d 1036 (N.D. Cal. 2008) .................................................................................... 8, 20
 2
     In re Online DVD-Rental Antitrust Litig.,
 3
        779 F.3d 934 (9th Cir. 2015) ................................................................................................. passim
 4
     In re Pac. Enterprises Sec. Litig.,
 5      47 F.3d 373 (9th Cir. 1995) .................................................................................................... 17, 18

 6   In re Wash. Pub. Power Supply Sys. Sec. Litig.,
        19 F.3d 1291 (9th Cir. 1994) .................................................................................................. 23, 24
 7
     Ingalls v. Spotify USA, Inc.,
 8
       2017 WL 3021037 (N.D. Cal. Jul. 17, 2017) ................................................................................. 2
 9
     Kerr v. Screen Extras Guild, Inc.,
10     526 F.2d 67 (9th Cir. 1975) .......................................................................................................... 23

11   Knapp v. Art.com, Inc.,
       283 F. Supp. 3d 823 (N.D. Cal. 2017) .......................................................................... 2, 12, 16, 17
12
     Larsen v. Trader Joe’s Co.,
13     2014 WL 3404531 (N.D. Cal. July 11, 2014) ....................................................................... passim
14
     Lealao v. Beneficial California, Inc,
15     82 Cal. App. 4th 19 (2000) ........................................................................................................... 10

16   Linney v. Cellular Alaska P’ship,
       1997 WL 450064 (N.D. Cal. July 18, 1997) ................................................................................ 18
17
     Missouri v. Jenkins,
18     491 U.S. 274 (1989) ..................................................................................................................... 21
19   Morales v. City of San Rafael,
20    96 F.3d 359 (9th Cir. 1996) .......................................................................................................... 22

21   Morey v. Louis Vuitton North America, Inc.,
      2014 WL 109194 (S.D. Cal. 2014)............................................................................................... 12
22
     Muchnick v. First Fed. Savs. & Loan Assoc. of Phil.,
23    1986 U.S. Dist. LEXIS 19798 (E.D. Pa. Sept. 30, 1986) ............................................................. 23
24   Municipal Auth. of Bloomsburg v. Pennsylvania,
25    527 F. Supp. 982 (M.D. Pa. 1981)................................................................................................ 23

26   Negrete v. Allianz Life Ins. Co. of N. Am.,
       2015 U.S. Dist. LEXIS 168586 (C.D. Cal. Mar. 17, 2015).......................................................... 22
27
     Perez v. Rash Curtis & Assocs.,
28     2020 WL 1904533 (N.D. Cal. Apr. 17, 2020) .............................................................................. 22

     MOTION FOR AWARD OF ATTORNEYS’ FEES, COSTS AND EXPENSES, AND INCENTIVE AWARD                                                             iii
     CASE NO. 3:20-CV-05218-WHO
         Case 3:20-cv-05218-WHO Document 52 Filed 09/03/21 Page 9 of 36




 1   Roberts v. Texaco, Inc.,
       979 F. Supp. 185 (S.D.N.Y. 1997) ............................................................................................... 23
 2
     Rabin v. Concord Assets Grp., Inc.,
 3
       1991 U.S. Dist. LEXIS 18273 (S.D.N.Y. Dec. 19, 1991) ............................................................ 23
 4
     Robinson v. OnStar, LLC,
 5     2020 WL 364221 (S.D. Cal. Jan. 22, 2020) ................................................................................... 2

 6   Rodriguez v. W. Publ’g Corp.,
       563 F.3d 948 (9th Cir. 2009) .................................................................................................... 2, 24
 7
     Roz v. Nestle Waters N Am., Inc.,
 8
       2017 WL 6942657 (C.D. Cal. Sept. 13, 2017) ............................................................................... 2
 9
     Six Mexican Workers v. Ariz. Citrus Growers,
10     904 F.2d 1301 (9th Cir. 1990) ........................................................................................................ 8

11   Staton v. Boeing,
       327 F.3d 938 (9th Cir. 2003) .......................................................................................................... 9
12
     Steiner v. Am. Broad. Co.,
13     248 F. App'x 780 (9th Cir. 2007) ................................................................................................. 23
14
     Van Vranken v. Atlantic Richfield Co.,
15     901 F. Supp. 294 (N.D. Cal. 1995) ................................................................................... 20, 24, 25

16   Vasquez v. Coast Valley Roofing, Inc.,
       266 F.R.D. 482 (E.D. Cal. 2010) .................................................................................................. 18
17
     Vizcaino v. Microsoft Corp.,
18     290 F.3d 1043 (9th Cir. 2002) ............................................................................................... passim
19   Wellens v. Sankyo,
20    2016 WL 8115715 (N.D. Cal. Feb. 11, 2016) ....................................................................... passim

21   Williamson v. McAfee, Inc.,
       2014 WL 4220824 (N.D. Cal. Aug. 22, 2014) ............................................................................. 15
22
     Williamson v. McAfee, Inc.,
23     2017 WL 6033070 (N.D. Cal. Feb. 3, 2017) ................................................................................ 12
24   Zakskorn v. Am. Honda Motor Co.,
25     2015 WL 3622990 (E.D. Cal. Jun. 9, 2015) ................................................................................. 22

26   STATUTES

27   Cal. Bus. & Prof. Code § 17602(a)(1) .......................................................................................... 1, 15

28   Cal. Bus. & Prof. Code § 17602(c) .................................................................................................... 2

     MOTION FOR AWARD OF ATTORNEYS’ FEES, COSTS AND EXPENSES, AND INCENTIVE AWARD                                                          iv
     CASE NO. 3:20-CV-05218-WHO
        Case 3:20-cv-05218-WHO Document 52 Filed 09/03/21 Page 10 of 36




 1   Cal. Bus. & Prof. Code §§ 17200 ....................................................................................................... 4
 2   Cal. Bus. & Prof. Code §§ 17500 ....................................................................................................... 4
 3   Cal. Bus. & Prof. Code §§ 17600 ....................................................................................................... 1
 4
     Cal. Civ. Code §§ 1750 ...................................................................................................................... 4
 5
     RULES
 6
     Fed. R. Civ. P. 23(e) ............................................................................................................................ i
 7
     Fed. R. Civ. P. 26 ............................................................................................................................... 6
 8
     Federal Rule of Civil Procedure 23(h) ........................................................................................... 3, 8
 9
     OTHER AUTHORITIES
10

11   Manual for Complex Litigation § 21.71 at 525 (4th ed. 2008) .......................................................... 9

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     MOTION FOR AWARD OF ATTORNEYS’ FEES, COSTS AND EXPENSES, AND INCENTIVE AWARD                                                                    v
     CASE NO. 3:20-CV-05218-WHO
          Case 3:20-cv-05218-WHO Document 52 Filed 09/03/21 Page 11 of 36




 1   I.      INTRODUCTION
 2           Plaintiff Deborah Jordan (the “Class Representative” or the “Plaintiff”) and Bursor &

 3   Fisher, P.A. (“Class Counsel”) respectfully submit this memorandum of law in support of

 4   Plaintiff’s motion for an award of attorneys’ fees, reimbursement of litigation costs and expenses,

 5   and payment of an incentive award in connection with the class-wide settlement of this action. The

 6   Class Action Settlement Agreement1 between Plaintiff and Defendant WP Company LLC

 7   (“Defendant” or “WaPo”) (together with Plaintiff, the “Parties”), if finally approved, resolves
 8   Plaintiff’s and Class Members’ claims stemming from WaPo’s alleged violations of California’s
 9   Automatic Renewal Law (“ARL”), Cal. Bus. & Prof. Code §§ 17600, et seq.
10           On July 8, 2021, the Court granted preliminary approval to the Settlement, which consists
11   of cash and non-cash benefits and has a total value of approximately $6,736,690. See 7/8/21 Order
12   Granting Preliminary Approval (ECF No. 50). Under the terms of the Settlement, WaPo will
13   establish a non-reversionary cash Settlement Fund in the amount of $2,400,000, which will be used
14   to pay all approved claims by Class Members, notice and administration expenses, a Court-
15   approved incentive award to Plaintiff, and attorneys’ fees to proposed Class Counsel to the extent
16   awarded by the Court. Settlement ¶ 1.45. WaPo will also automatically provide over $4,336,690
17   worth of Automatic Account Credit Codes to Class Members who do nothing during the claims
18   process. Id. ¶¶ 1.46, 2.2. In other words, no claim form will be necessary for Class Members to
19   realize the benefits of the Settlement, and in lieu of such benefits Class Members may choose to
20   receive a pro rata cash payment by submitting a simple cash election form. WaPo also agreed to
21   injunctive relief in the form of revising the presentation and wording of the automatic renewal
22   terms in its mobile and desktop platforms and in its direct mail offers to be consistent with the
23   requirements of Cal. Bus. & Prof. Code § 17602(a)(1)-(2). WaPo has further agreed to provide
24   subscribers with a revised acknowledgment email that includes the automatic renewal terms,
25   cancellation policy, and information regarding how to cancel in a manner that is capable of being
26

27   1
      All capitalized terms not otherwise defined herein shall have the same definitions as set out in the
     Parties’ Stipulation of Class Action Settlement Agreement and Release (the “Settlement” or
28   “Settlement Agreement”), a true and correct copy of which is submitted as Exhibit 1 to the
     contemporaneously filed Declaration of Frederick J. Klorczyk III (the “9/3/21 Klorczyk Decl.”).

     MOTION FOR AWARD OF ATTORNEYS’ FEES, COSTS AND EXPENSES, AND INCENTIVE AWARD                        1
     CASE NO. 3:20-CV-05218-WHO
         Case 3:20-cv-05218-WHO Document 52 Filed 09/03/21 Page 12 of 36




 1   retained by the consumer, consistent with Cal. Bus. & Prof. Code § 17602(c). Id. ¶ 2.3. This
 2   prospective relief will benefit Class Members for years to come.
 3          To date, the response to the Settlement has been overwhelmingly positive. As of the date of
 4   this filing, there have been only 11 opt-outs, and no objections.2 See 9/3/21 Klorczyk Decl. ¶ 37.
 5   Yet, obtaining this exceptional relief came with significant risks. See id. ¶¶ 4-7, 30-33. For
 6   instance, when Plaintiff filed her Complaint in this matter, not only was there little authority
 7   interpreting the ARL’s requirements of “visual proximity” and “affirmative consent” under Section
 8   17602(a) of the ARL (neither of which are defined by statute), there were also few cases applying
 9   the “gift provision” under Section 17603 of the ARL or the “safe harbor” provision under Section
10   17604(b) of the ARL. Id. ¶¶ 5-6, 32. Thus, the scope of the statute, the relief available, and
11   potential affirmative defenses were all in dispute. Moreover, to Class Counsel’s knowledge, at that
12   time only two courts had issued an opinion on a contested class certification motion based on ARL
13   violations, see Robinson v. OnStar, LLC, 2020 WL 364221 (S.D. Cal. Jan. 22, 2020) and Roz v.
14   Nestle Waters N Am., Inc., 2017 WL 6942657, at *3-6 (C.D. Cal. Sept. 13, 2017), and only one
15   ARL case had progressed through summary judgment, see Ingalls v. Spotify USA, Inc., 2017 WL
16   3021037 (N.D. Cal. Jul. 17, 2017). Id. ¶¶ 4-5, 32. As a result, in pursuing class-wide relief based
17   on Defendant’s alleged ARL violations, Plaintiff endured significant risk and was prepared to
18   battle through hard-fought litigation involving complex factual investigation into WaPo’s
19   disclosure practices and dispositive motion practice on novel legal issues. Id. Ultimately,
20   however, when the Parties thought that there was a potential for resolution, they sought the
21   assistance of a well-respected mediator. Id. ¶¶ 14-15. That is, rather than put the arguments raised
22   in WaPo’s motion to dismiss to the test and then procced through the class certification and
23

24   2
       “‘[T]he absence of a large number of objections to a proposed class action settlement raises a strong
     presumption that the terms of a proposed class settlement action are favorable to the class members.’
25   ‘A court may appropriately infer that a class action settlement is fair, adequate, and reasonable when
     few class members object to it. … [T]he fact that the overwhelming majority of the class willingly
26   approved the offer and stayed in the class presents at least some objective positive commentary as to
     its fairness.” Knapp v. Art.com, Inc., 283 F. Supp. 3d 823, 833-34 (N.D. Cal. 2017) (Orrick, J.);
27   Larsen v. Trader Joe’s Co., 2014 WL 3404531, at *5 (N.D. Cal. July 11, 2014); see also Rodriguez
     v. W. Publ’g Corp., 563 F.3d 948, 967 (9th Cir. 2009) (affirming district court’s finding that 54
28   objections out of 376,301 putative class members reflected a favorable reaction).

     MOTION FOR AWARD OF ATTORNEYS’ FEES, COSTS AND EXPENSES, AND INCENTIVE AWARD                         2
     CASE NO. 3:20-CV-05218-WHO
       Case 3:20-cv-05218-WHO Document 52 Filed 09/03/21 Page 13 of 36




 1   summary judgment, Plaintiff elected to achieve meaningful, immediate relief for her fellow Class
 2   Members. Id. ¶¶ 30-33. The settlement was only reached in connection with two mediation
 3   sessions with Jill R. Sperber, Esq., who is an experienced neutral affiliated with Judicate West. Id.
 4   ¶¶ 15, 19, 29. Thus, while resolution was achieved in a relatively short period of time, obtaining
 5   the excellent settlement relief did not come easily.
 6          In light of the exceptional relief obtained by the Parties, Plaintiff respectfully requests,
 7   pursuant to Federal Rule of Civil Procedure 23(h), that the Court approve attorneys’ fees, costs,
 8   and expenses of approximately 29% of the settlement fund, or $2,000,000, as well as an incentive
 9   award of $5,000 for Plaintiff for her service as the Class Representative. This method of
10   calculating the fee award, based on a percentage of the Settlement Fund, is straightforward, is fair
11   under the circumstances, and is supported by the laws of this Circuit. Indeed, Courts in this Circuit
12   routinely approve fee requests for up to one-third of a settlement fund. See, e.g., Blandino v. MCM
13   Constr., Inc., 2014 WL 11369763, at *3 (N.D. Cal. Mar. 6, 2014) (Orrick, J.) (awarding 33% of
14   settlement fund in attorneys’ fees); Wellens v. Sankyo, 2016 WL 8115715, at *3 (N.D. Cal. Feb. 11,
15   2016) (Orrick, J.) (awarding 36% of $8,200,000 settlement fund in fees). The 29% in attorneys’
16   fees, costs, and expenses requested here is within the range of reasonableness, and is supported by
17   a lodestar cross-check. See supra Part IV(A)(4)(b), below (discussing the factors supporting the
18   application of a multiplier to Class Counsel’s lodestar); see also 9/3/21 Klorczyk Decl. Ex. 2
19   (Bursor & Fisher’s detailed billing diaries for this case). The Court should approve the requested
20   fee and incentive award.
21   II.    FACTUAL AND PROCEDURAL BACKGROUND
22          A.      California’s Automatic Renewal Law
23          On December 1, 2010, the California Legislature enacted the Automatic Renewal Law
24   (“ARL”) with the intent to “end the practice of ongoing charging of consumer credit or debit cards
25   or third-party payment accounts without the consumers’ explicit consent for ongoing shipments of
26   a product or ongoing deliveries of service.” First Amended Complaint (ECF No. 22) (“FAC”) ¶ 21
27   (citing statement of legislative intent). In 2018, the California Legislature amended the ARL to
28   increase consumer protections for orders that contain free trial and promotional pricing, and

     MOTION FOR AWARD OF ATTORNEYS’ FEES, COSTS AND EXPENSES, AND INCENTIVE AWARD                          3
     CASE NO. 3:20-CV-05218-WHO
       Case 3:20-cv-05218-WHO Document 52 Filed 09/03/21 Page 14 of 36




 1   subscription agreements entered into online. See id. ¶ 22. Thus, the ARL’s core requirements are
 2   that: (1) businesses must clearly and conspicuously disclose automatic renewal terms of any offer,
 3   as defined by the statute; (2) they must obtain a consumer’s affirmative consent; and (3) they must
 4   provide consumers with an acknowledgment containing the terms of the automatically renewing
 5   offer and cancellation information. See id. ¶ 23. Private citizens in California may enforce ARL
 6   violations as predicate claims under California’s Unfair Competition Law (“UCL”), Cal. Bus. &
 7   Prof. Code §§ 17200, et seq., which prohibits “any unlawful[] … business act or practice[.]” Id. ¶
 8   72. Additionally, ARL violations may constitute acts of false advertising in violation of
 9   California’s False Advertising Law (“FAL”), Cal. Bus. & Prof. Code §§ 17500, et seq. See id. ¶¶
10   91-99. Finally, ARL violations may also constitute violations under California’s Consumers Legal
11   Remedies Act (“CLRA”), Cal. Civ. Code §§ 1750, et seq. See id. ¶¶ 100-111.
12          B.      Plaintiff’s Allegations
13          Defendant is an international media company that, among other activities, publishes and
14   distributes to California consumers digital editions of The Washington Post and provides
15   automatically renewing subscription plans for various digital products and services under the
16   Washington Post brand name (the “WaPo Subscriptions”). Plaintiff alleges that when consumers
17   sign up for a WaPo Subscription through the WaPo Website or App, Defendant enrolls consumers
18   in an automatically renewing subscription that results in monthly or annual charges to the
19   consumer’s payment method. FAC ¶ 1. Defendant allegedly engages in these autorenewal
20   practices without first providing California consumers the requisite disclosures and authorizations
21   required under the ARL. Id. Plaintiff also alleges that every violation of the ARL constitutes an
22   “unlawful” practice under the UCL. Id. ¶ 75. And because these ARL violations involve
23   misrepresentations and/or omissions of material fact, Plaintiff contends Defendant also violated the
24   FAL and CLRA. See id. ¶¶ 91-99, 100-111. On that basis, Plaintiff also brought common law
25   claims against Defendant for conversion, unjust enrichment, negligent misrepresentation, and
26   fraud. See id. ¶¶ 4, 85-90, 108-125.
27          C.      The Litigation History And Work Performed To Benefit The Class
28          Beginning in or around August 2019, Class Counsel commenced a pre-suit investigation of

     MOTION FOR AWARD OF ATTORNEYS’ FEES, COSTS AND EXPENSES, AND INCENTIVE AWARD                        4
     CASE NO. 3:20-CV-05218-WHO
       Case 3:20-cv-05218-WHO Document 52 Filed 09/03/21 Page 15 of 36




 1   publishing companies’ violations of the ARL. See 9/3/21 Klorczyk Decl. ¶ 4. By June of 2020,
 2   Class Counsel was retained by Plaintiff to pursue claims against Defendant for alleged ARL
 3   violations in connection with her WaPo Subscriptions. Id. ¶ 8. Because very few courts had issued
 4   an opinion interpreting the statute – in particular, no court had definitively identified the distinction
 5   between obtaining a consumer’s “ordinary consent” (which is required for the formation of all
 6   agreements) versus “affirmative consent” (which is a heightened form of consent that is required,
 7   but not defined, by the ARL), interpreted the term “visual proximity” (another undefined term
 8   under the ARL), or applied the gift provision under Section 17603 of the ARL – Class Counsel’s
 9   investigation was extensive, novel, and involved in-depth research into Defendant’s billing
10   practices, textual analysis of the statute, and the legislative history of the ARL. Id. ¶¶ 4-6.
11   Moreover, Class Counsel was aware that Defendant would likely challenge liability by arguing that
12   WaPo achieved a level of compliance sufficient to qualify for a purported “good faith safe harbor”
13   under Section 17604(b) of the ARL. Id. ¶ 7. Thus, Class Counsel performed extensive legal
14   research regarding the application of safe harbor provisions under similar statutes in California and
15   across the country. Id.
16          Despite these litigation risks, July 29, 2020, Plaintiff filed her initial Class Action
17   Complaint in the United States District Court for the Northern District of California, alleging that
18   Defendant’s renewal charge was in violation of the ARL, thus giving rise to claims under
19   California’s UCL, FAL, CLRA (injunctive relief), and other common law claims. See 9/3/21
20   Klorcyzk Decl. ¶ 9 (citing ECF No. 1). On October 5, 2020, Plaintiff filed the operative FAC as of
21   right. Id. ¶ 12 (citing ECF No. 22). In addition to claims for relief brought by Plaintiff’s initial
22   Complaint, the FAC contains a request for damages under the CLRA at Count IV. See id. (citing
23   ECF No. 22 ¶ 104). On October 19, 2020, Defendant moved to dismiss the FAC under Rule
24   12(b)(6). Id. ¶ 13 (citing ECF No. 23). Defendant argued that its pre-checkout disclosures
25   complied with the ARL because they provided all of the information required, in a clear and
26   conspicuous manner, and further argued that Plaintiff had not stated a claim for fraud and negligent
27   misrepresentation because, among other reasons, Plaintiff had not identified a false statement or
28   any specific omissions from the pre-purchase disclosures, and because any omissions in the post-

     MOTION FOR AWARD OF ATTORNEYS’ FEES, COSTS AND EXPENSES, AND INCENTIVE AWARD                           5
     CASE NO. 3:20-CV-05218-WHO
       Case 3:20-cv-05218-WHO Document 52 Filed 09/03/21 Page 16 of 36




 1   purchase disclosures could not have influenced Plaintiff’s decision to purchase her subscription.
 2   Id. On November 19, 2020, the Parties filed a Joint Stipulation and Proposed Order with the Court,
 3   indicating that the Parties had agreed to engage in private mediation and requesting that the Court
 4   enter an order staying all upcoming deadlines pending settlement discussions. Id. ¶ 14 (citing ECF
 5   No. 28). On November 20, 2020, the Court entered an order granting the Parties’ request. Id.
 6   (citing ECF No. 29).
 7          From the outset of the case, the Parties engaged in direct communications and, as part of
 8   their obligations under Fed. R. Civ. P. 26, discussed the prospect of an early resolution. Those
 9   discussions eventually led to an agreement between the Parties to engage in early mediation, which
10   the Parties agreed would take place before Jill R. Sperber, Esq., an experienced neutral affiliated
11   with Judicate West. Id. ¶ 15. Prior to the mediation, the Parties exchanged informal discovery,
12   including on issues such as: the size and scope of the putative class and their damages; digital
13   acknowledgment emails that Defendant sent California consumers during the Class Period
14   following their enrollment in a WaPo Subscriptions, as well as representative web and mobile pay
15   flow and check out pages from Defendant’s website during the relevant time period showing the
16   content and presentation of the disclosures; and Defendant’s current and historical Terms of Sale
17   and Terms of Service, which recap the purchase terms other relevant practices and policies related
18   to the WaPo Subscriptions. Id. ¶ 16. Given that this information would be produced early in
19   formal discovery, the Parties were able to sufficiently assess the strengths and weaknesses of their
20   cases based on the materials exchanged in informal discovery. Id. The Parties also exchanged
21   detailed mediation statements, explaining their respective legal arguments. Id. ¶ 18. Additionally,
22   before mediation, Class Counsel devoted substantial time to researching the viability of different
23   class-wide settlement structures under the relevant Ninth Circuit case law. Id. ¶ 17.
24          The Parties participated in two mediation sessions before Ms. Sperber, which were both
25   conducted by Zoom. Id. ¶ 19. The first session took place on March 16, 2021 and lasted
26   approximately nine hours. Id. Although no settlement was reached that day, the parties promptly
27   arranged for a second mediation session which took place on March 25, 2021, was conducted via
28   Zoom, and lasted nearly six hours. Id. The Parties’ negotiations were conducted in good faith and

     MOTION FOR AWARD OF ATTORNEYS’ FEES, COSTS AND EXPENSES, AND INCENTIVE AWARD                          6
     CASE NO. 3:20-CV-05218-WHO
       Case 3:20-cv-05218-WHO Document 52 Filed 09/03/21 Page 17 of 36




 1   at arms’-length at all times. Id. At the end of the second mediation session, the Parties reached an
 2   agreement to settle the case and executed a binding Settlement Term Sheet as to all material terms
 3   of a class-wide settlement. Id. Only once all other terms were agreed to, and with the assistance of
 4   Ms. Sperber, did the Parties negotiate the attorneys’ fee and incentive award. Id.
 5          After reaching an agreement in principle on the Settlement, Class Counsel worked
 6   extensively with defense counsel to finalize and memorialize a formal Class Action Settlement
 7   Agreement, including proposed class notice documents. Id. ¶ 27. That process included multiple
 8   rounds of redlines and phone calls to discuss proposed edits. Id. Thus, the formal Settlement
 9   Agreement was reached as a result of extensive arm’s-length negotiations between the Parties and
10   their counsel. Id. Further, after finalizing and executing the Class Action Settlement Agreement,
11   Class Counsel prepared Plaintiff’s Motion for Preliminary Approval and Certification of a
12   Settlement Class, which was filed on May 28, 2021. Id. ¶ 28 (citing ECF No. 46). The Court
13   preliminarily approved the Settlement on July 8, 2021. Id. (citing ECF Nos. 47, 50).
14   III.   SUMMARY OF THE SETTLEMENT
15          The Settlement provides an exceptional result for the class by delivering immediate relief to
16   the more than 319,395 persons “who, from July 29, 2016, to and through April 1, 2021, enrolled in
17   an automatically renewing WaPo Subscription using a California billing address and who, during
18   that time period, were charged and paid one or more automatic renewal fees in connection with
19   such subscription.” Settlement ¶ 1.46; see also 9/3/21 Klorczyk Decl. ¶¶ 22, 37.
20          The Settlement consists of cash and non-cash benefits and has a total value of
21   approximately $6,736,690. Settlement ¶ 1.49. Under the terms of the Settlement, WaPo will
22   automatically provide over $4,336,690 worth of access codes (the “Automatic Account Credit
23   Codes”) to Class Members who do nothing during the claims process. Id. ¶¶ 1.8, 2.2.
24   Additionally, WaPo will establish a non-reversionary cash Settlement Fund of $2,400,000, which
25   will be used to pay all approved claims by class members, notice and administration expenses, a
26   Court-approved incentive award to Plaintiff, and attorneys’ fees to proposed Class Counsel to the
27   extent awarded by the Court. Id. ¶ 1.48. Pursuant to the Settlement, every Settlement Class
28   Member will be entitled to receive either an Automatic Account Credit Code for up to eight (8)

     MOTION FOR AWARD OF ATTORNEYS’ FEES, COSTS AND EXPENSES, AND INCENTIVE AWARD                      7
     CASE NO. 3:20-CV-05218-WHO
         Case 3:20-cv-05218-WHO Document 52 Filed 09/03/21 Page 18 of 36




 1   weeks of a free Washington Post digital subscription (valued at up to $20), or, at their election, a
 2   pro rata cash payment from the Settlement Fund. Id. ¶ 2.2. The type of WaPo Subscription a
 3   particular Class Member is eligible to receive using the Automatic Account Credit Codes depends
 4   on whether his or her WaPo Subscription was Active or Inactive as of April 1, 2021,3 and the
 5   duration of the WaPo Subscription varies from four (4) to eight (8) weeks, depending on whether
 6   the Class Member’s most recently active WaPo Subscription was for an Annual or Four-Week
 7   renewal term.4 Id. Alternatively, each Settlement Class Member may opt to receive a pro rata
 8   cash payment from the $2.4 million Settlement Fund, in lieu of any Automatic Account Credit
 9   Code, by submitting a valid and timely Claim Form to the Settlement Administrator, subject to pro
10   rata adjustment based on total claims volume. Id. The Parties estimate that the cash award will be
11   $20 per Annual Class Member and $10 per Four-Week Class Member, based an expected claims
12   rate of 5%. Id.
13   IV.    CLASS COUNSEL’S REQUESTED ATTORNEYS’ FEES AWARD IS FAIR AND
            REASONABLE AND SHOULD BE APPROVED
14
            Class Counsel seeks an award of attorneys’ fees, costs, and expenses in the amount of
15
     $2,000,000, which is approximately 29 percent of the $6.7 million Settlement.
16
            Under Federal Rule of Civil Procedure 23(h), courts may award “reasonable attorney’s fees
17
     and nontaxable costs that are authorized by law or the parties’ agreement.” Fed. R. Civ. P. 23(h).
18
     In determining a reasonable fee award, courts in the Ninth Circuit apply one of two fee calculation
19
     methods – the “percentage of the fund” method or the “lodestar” method. See Fischel v. Equitable
20
     Life Assur. Soc’y of U.S., 307 F.3d 997, 1006 (9th Cir. 2002); Hanlon v. Chrysler Corp., 150 F.3d
21
     1011, 1029 (9th Cir. 1998). The trend in this Circuit is to use the percentage of recovery as the
22
     “dominant” approach in common fund cases. See, e.g., Vizcaino v. Microsoft Corp., 290 F.3d
23
     1043, 1047 (9th Cir. 2002); Six Mexican Workers v. Ariz. Citrus Growers, 904 F.2d 1301, 1311
24
     3
25     Active Class Members who do nothing during the claims period will receive Codes for free weeks
     to his or her then-current digital WaPo subscription, while Inactive Class Members will receive
26   Codes for free weeks to a premium digital WaPo Subscription. Settlement ¶ 2.2.
     4
       Class Members that have or had Annual WaPo Subscriptions at any point during the Class Period
27   and do not exclude themselves or opt for cash will be entitled to eight (8) weeks of free subscription
     services, valued at $20; Class Members with Four-Week WaPo Subscriptions will receive four (4)
28   weeks of free subscription services, valued at $10. Settlement ¶ 2.2.

     MOTION FOR AWARD OF ATTORNEYS’ FEES, COSTS AND EXPENSES, AND INCENTIVE AWARD                           8
     CASE NO. 3:20-CV-05218-WHO
       Case 3:20-cv-05218-WHO Document 52 Filed 09/03/21 Page 19 of 36




 1   (9th Cir. 1990); In re Omnivision Techs., Inc., 559 F. Supp. 2d 1036, 1046 (N.D. Cal. 2008). In
 2   any case, both methods are commonly used as “cross-checks” to ensure a fee award is reasonable.
 3   Vizcaino, 290 F.3d at 1050; see also Larsen, 2014 WL 3404531, at *8 (noting that courts may “use
 4   the lodestar method as a cross-check to determine the fairness of the fee award”) (internal
 5   quotation marks omitted). Ultimately, courts are bound to exercise their discretion “so as to
 6   achieve a reasonable result.” In re Lidoderm Antitrust Litig., 2018 WL 4620695, at *1 (N.D. Cal.
 7   Sept. 20, 2018) (internal quotations omitted). As discussed below, Class Counsel’s fee request is
 8   fair and reasonable and should be approved in full.
 9          A.      The Court Should Award Attorneys’ Fees Under The Percentage Of
                    The Benefit Method
10
                    1.      The Total Value Of The Settlement Exceeds $6.7 Million
11
            To calculate attorneys’ fees based on the percentage of the benefit, the Court must first
12
     determine the value of the settlement fund. See Alvarez v. Farmers Ins. Exch., 2017 WL 2214585,
13
     at *2 (N.D. Cal. Jan. 18, 2017) (“Under the percentage-of-the-fund method, the court compares the
14
     fee recovery against the total settlement value.”); In re Bluetooth Headset Prods. Liab. Litig., 654
15
     F.3d 935, 942 (9th Cir. 2011) (noting that a percentage-of-recovery fee award is calculated by
16
     taking a percentage of the “common fund for the benefit of the entire class”). In doing so, the
17
     Court must include the value of the benefits made available to the Class, including the value of any
18
     in-kind relief, as well as attorneys’ fees, litigation expenses, and notice and claims administration
19
     payments to be made. See, e.g., In re Online DVD-Rental Antitrust Litig., 779 F.3d 934, 953 (9th
20
     Cir. 2015) (“The district court did not abuse its discretion in calculating the fee award as a
21
     percentage of the total settlement fund, including notice and administrative costs, and litigation
22
     expenses. We have repeatedly held ‘that the reasonableness of attorneys’ fees is not measured by
23
     the choice of the denominator.’”) (quotation omitted); see also Staton v. Boeing, 327 F.3d 938,
24
     974-75 (9th Cir. 2003); Hartless v. Clorox Co., 273 F.R.D. 630, 645 (S.D. Cal. 2011), aff’d, 473 F.
25
     App’x. 716 (9th Cir. 2012). Stated otherwise, California courts include the value of both the
26
     monetary and non-monetary benefits made available to the Class when calculating the total value
27
     of the settlement. Thus, “the sum of the two amounts ordinarily should be treated as a settlement
28

     MOTION FOR AWARD OF ATTORNEYS’ FEES, COSTS AND EXPENSES, AND INCENTIVE AWARD                         9
     CASE NO. 3:20-CV-05218-WHO
       Case 3:20-cv-05218-WHO Document 52 Filed 09/03/21 Page 20 of 36




 1   fund for the benefit of the class ….” In re Consumer Privacy Cases, 175 Cal. App. 4th 545, 554
 2   (2009) (quoting the Manual for Complex Litigation § 21.71 at 525 (4th ed. 2008)); see also Lealao
 3   v. Beneficial California, Inc, 82 Cal. App. 4th 19, 33 (2000).
 4          Here, the total value of the common fund is estimated at $6,736,690.00, which includes the
 5   $2,400,000.00 non-reversionary cash Settlement Fund and the $4,336,690.00 in Automatic
 6   Account Credit Codes. Class Counsel’s requested fee award (inclusive of costs and expenses),
 7   Plaintiff’s Jordan’s proposed incentive award, and the costs of notice and administration are to be
 8   paid from the Settlement Fund. Settlement ¶¶ 1.20, 8.1.
 9                  2.      The Automatic Account Credit Codes Should Be Valued
                            At Their Face Value
10
            The $6.7 million valuation of the Settlement Fund necessarily values the Automatic
11
     Account Credit Codes at the face value of the WaPo Subscriptions to which the Codes provide
12
     access (i.e., 100 cents on the dollar). This is consistent with the Ninth Circuit’s approach in In re
13
     Online DVD-Antitrust Litig. (“Online DVD”), 779 F.3d 934 (9th Cir. 2015), which held that gift
14
     cards or vouchers should be valued at 100 cents on the dollar for purposes of calculating attorneys’
15
     fees under the percentage-of-the-benefit method.
16
            Furthermore, the Settlement does not implicate CAFA’s restrictions on coupon settlements
17
     because the Automatic Account Credit Codes, like the product vouchers at issue in In re Online
18
     DVD, are not “coupons.” In that case, the Ninth Circuit “conclude[d] the district court properly
19
     decided that the portion of the settlement that will be paid in Walmart gift cards was not a ‘coupon
20
     settlement’ within the meaning of CAFA[,]” emphasizing the distinctions between the non-
21
     monetary portion of the settlement in that case “from the settlements that drew the attention of
22
     Congress” when enacting CAFA:
23
                    The Walmart-Netflix settlement differs from the settlements that drew the
24                  attention of Congress. Affording over 1 million class members $12 in cash
                    or $12 to spend at a low-priced retailer does not leave them with “little or no
25                  value.” … Moreover, this case is distinguishable from every single coupon-
26                  settlement example in the Senate report. The report focuses on settlements
                    that involve a discount – frequently a small one – on class members’
27                  purchases from the settling defendant. These discounts require class
                    members to hand over more of their own money before they can take
28                  advantage of the coupon, and they often are only valid for select products or

     MOTION FOR AWARD OF ATTORNEYS’ FEES, COSTS AND EXPENSES, AND INCENTIVE AWARD                       10
     CASE NO. 3:20-CV-05218-WHO
         Case 3:20-cv-05218-WHO Document 52 Filed 09/03/21 Page 21 of 36




                    services. The gift cards in this case are different. Instead of merely offering
 1                  class members the chance to receive a percentage discount on a purchase of
 2                  a specific item or set of items at Walmart, the settlement gives class
                    members $12 to spend[.] … The class member need not spend any of his or
 3                  her own money
 4   In re Online DVD, 779 F.3d at 949-51 (internal citations omitted and emphasis added). Further,
 5   “the option of obtaining cash instead of a gift card, undercut[s] the argument that the settlement
 6   forces them to buy from the defendant.” Id. at 952. As discussed below, the Automatic Account
 7   Credit Codes here share the same characteristics as the gift cards in In re Online DVD.
 8          First, the Settlement Agreement provides that “[n]o payment or billing information will be
 9   required for an Inactive Class Member to use the Automatic Account Credit Code.” Settlement ¶
10   2.2(e). That means that, unlike the automatically renewing WaPo Subscriptions that Class
11   Members purchased during the Class Period, an Inactive Class Member’s failure to cancel will not
12   result in subsequent charges to that individual’s payment method. Instead, the Settlement provides
13   “free access to various WaPo-branded subscription products … to Active and Inactive Subscribers
14   who do not submit an Approved Claim by the Claims Deadline.” Settlement ¶ 1.8 (emphasis
15   added); see also id. Ex. E, Long Form Notice at 5 (noting that there will be “no expectation or
16   obligation to continue using or paying the services beyond the free period”). Therefore, this
17   settlement is fundamentally different from the “problematic coupon settlements” described in
18   CAFA’s legislative history, as the Automatic Account Credit Codes do not “require class members
19   to hand over more of their own money before they can take advantage of the[m],” Online DVD,
20   779 F.3d at 950-51. See also, e.g., Browning v. Yahoo! Inc., 2007 WL 4105971, *5 (N.D. Cal.
21   2007) (“[T]he in-kind relief offered in this case is not a ‘coupon settlement’ because it does not
22   require class members to spend money in order to realize the settlement benefit.”); Hendricks v.
23   Ference, 754 F. App’x 510, 512 (9th Cir. 2018) (“Here, the claims center on Starkist’s alleged
24   under-filling of tuna cans, and the settlement supplies the missing tuna.”).5
25

26

27   5
       Notably, although Section 17602(a) explicitly requires both “visual proximity” and “affirmative
     consent,” neither the statute nor caselaw defines these terms, and so Class Counsel would have been
28   required to craft its arguments from scratch. See id. ¶ 6.

     MOTION FOR AWARD OF ATTORNEYS’ FEES, COSTS AND EXPENSES, AND INCENTIVE AWARD                         11
     CASE NO. 3:20-CV-05218-WHO
       Case 3:20-cv-05218-WHO Document 52 Filed 09/03/21 Page 22 of 36




 1          Second, the Automatic Account Credit Codes are not “coupons” within the meaning of
 2   CAFA because they “will not expire and may be freely transferred.” See Settlement ¶ 2.2(f); see
 3   also id. ¶ 1.8. Because there is no expiration date, a Class Member is free to activate the Codes
 4   immediately upon their receipt, or the Class Member may choose to delay activation for a matter of
 5   weeks, month, or years. And, because the Codes are freely transferrable, Class Members may, at
 6   any time, give the Codes to someone else as a gift or sell them for cash on a secondary market. See
 7   In re Online DVD-Rental Antitrust Litigation, 779 F.3d at 941 (affirming finding that “CAFA’s
 8   coupon-settlement provisions should not apply because the Walmart gift cards were sufficiently
 9   different from coupons—especially given the fact that …. [The] gift cards were freely
10   transferrable, and they had no expiration date”); see also Morey v. Louis Vuitton North America,
11   Inc., 2014 WL 109194, *8 (S.D. Cal. 2014); Fernandez v. Victoria Secret Stores, LLC, 2008 WL
12   8150856, at *6 (C.D. Cal. July 21, 2008).
13          Third, every Class Member has the option to submit a valid Claim Form and receive a pro
14   rata cash payment from the Settlement Fund, in lieu of the Automatic Account Credit Codes.
15   Settlement ¶ 2.2(f). As this Court has noted, the fact that Class Members have an “option of
16   obtaining cash instead of [Codes], undercut[s] the argument that the settlement forces [Class
17   Members] to buy from the defendant.” Knapp, 283 F. Supp. 3d at 837 (Orrick, J.); In re Online
18   DVD-Rental Antitrust Litigation, 779 F.3d at 941 (finding CAFA’s coupon-settlement provisions
19   inapplicable to product vouchers “especially given the fact that claimants could choose between
20   gift cards and cash”); Cody v. SoulCycle Inc., 2017 WL 6550682, at *7 (C.D. Cal. Oct. 3, 2017)
21   (“Because class members here may elect the ‘Cash Option’ or keep the ‘cash-equivalent’ of the
22   reinstated classes, without spending any money of their own or receiving any ‘discount,’ this
23   Settlement is not a ‘coupon settlement’ and therefore not subject to CAFA’s limitations on
24   contingent fees.”); Williamson v. McAfee, Inc., 2017 WL 6033070, at *1 (N.D. Cal. Feb. 3, 2017)
25   (“But this is not a coupon settlement, since class members had the option to receive cash instead of
26   value certificates, even though they received certificates by default.”).
27          In sum, the existence of a $2.4 million cash settlement fund and the ability of Class
28   Members to seek cash payments, as well as the transferability and non-expiration of the Automatic

     MOTION FOR AWARD OF ATTORNEYS’ FEES, COSTS AND EXPENSES, AND INCENTIVE AWARD                        12
     CASE NO. 3:20-CV-05218-WHO
       Case 3:20-cv-05218-WHO Document 52 Filed 09/03/21 Page 23 of 36




 1   Account Credit Codes, distinguishes the instant Settlement from those found to be coupons.
 2   Compare In re HP Inkjet Printer Litig., 716 F.3d 1173, 1179 (9th Cir. 2013) (“For instance, a
 3   coupon settlement is likely to provide less value to class members if, like here, the coupons are
 4   non-transferable, expire soon after their issuance, and cannot be aggregated.”), with Hendricks v.
 5   Ference, 754 F. App'x 510, 512 (9th Cir. 2018) (“Virtually all of the factors identified in Online
 6   DVD-Rental weigh in favor of the district court’s conclusion that the vouchers were not coupons
 7   under CAFA. The vouchers did not expire, they were freely transferrable, they could be used at a
 8   wide variety of stores (any retailer selling Starkist products), and the vouchers had sufficient value
 9   that class members could use them to purchase tuna without additional out-of-pocket expense. …
10   Here, the claims center on Starkist’s alleged under-filling of tuna cans, and the settlement supplies
11   the missing tuna. … Supplying missing tuna or providing a replacement for a defective product
12   may be accomplished most efficiently by way of a voucher, and the use of a voucher to deliver an
13   in-kind settlement to class members will not by itself transform a non-coupon settlement into a
14   coupon settlement subject to CAFA. Accordingly, we affirm the district court’s determination that
15   the settlement was not subject to CAFA's coupon-settlement requirements.”).
16                  3.      All Relevant Factors Favor An Upward Departure From
                            The Ninth Circuit’s 25% Benchmark To 29%
17
            “The typical range of acceptable attorneys’ fees in the Ninth Circuit under [the percentage]
18
     method is 20% to 33 1/3% of the total settlement value, with 25% considered the benchmark.”
19
     Alvarez, 2017 WL 2214585, at *3 (Orrick, J.). That “benchmark … can be adjusted upward or
20
     downward based on several factors, including (1) the results achieved; (2) the risk of litigation; (3)
21
     the skill required; (4) the quality of work; (5) the contingent nature of the fee and the financial
22
     burden; and (6) the awards made in similar cases.” Id. (citing Vizcaino, 290 F.3d at 1048–50). As
23
     shown below, an upward departure from the 25% benchmark is warranted here.
24
                            a.      Class Counsel Achieved Extraordinary Results For The Class
25
            First, an upward adjustment to the 25% benchmark is justified because, Class Counsel
26
     “achieved exceptional results for the class.” Vizcaino, 290 F.3d at 1048. Specifically, Class
27

28

     MOTION FOR AWARD OF ATTORNEYS’ FEES, COSTS AND EXPENSES, AND INCENTIVE AWARD                          13
     CASE NO. 3:20-CV-05218-WHO
       Case 3:20-cv-05218-WHO Document 52 Filed 09/03/21 Page 24 of 36




 1   Counsel’s requested fees are reasonable given the unique circumstances of this case, which are
 2   discussed in greater detail at Parts IV(A)(2)(b)-(c), below:
 3                  Class members will receive relief of substantial value quickly, with an estimated
                     95% or more of class members receiving such benefits automatically, without the
 4                   need for a claims process.
 5                  The litigation was conducted and the Settlement was obtained in an efficient
 6                   manner, by experienced and qualified counsel.

 7                  The case involved complex and novel legal issues and factual theories, which
                     involved significant litigation risks.
 8
                    Class Counsel devised a litigation and settlement strategy that factored in the
 9                   complex and uncertain nature of the case.
10                  This Settlement also compares favorably to settlements reached in similar cases,
11                   especially a recent settlement reached in another ARL case brought on behalf of
                     California purchasers. Compare Moses v. The New York Times Company, No. 1:20-
12                   cv-04658-RA (S.D.N.Y.); see also Part IV(A)(2)(d), supra (comparing settlements).

13           Thus, Class Counsel’s efforts in this case resulted in an exceptional recovery for the
14   Settlement Class. Class Counsel should be rewarded for achieving this result.
15                           b.      Plaintiff’s Novel Claims Carried Substantial Litigation Risk
16           Second, this case was “extremely risky for class counsel[,]” particularly because of its
17   relative novelty. Vizcaino, 290 F.3d at 1048. This case involved California’s ARL, a statute that is
18   still in its nascent stages of litigation. As a result, the resolution of several of Plaintiff’s claims
19   turned on open question of law. See 9/3/21 Klorczyk Decl. ¶¶ 4-7. For example, the Parties would
20   have likely argued over whether various of WaPo’s Checkout Page disclosures were presented in
21   “visual proximity” to the request for consent on that page, and whether Defendant obtained
22   Plaintiff’s and Class Members’ “affirmative consent” despite the fact that the Checkout Page for
23   the WaPo Subscriptions contained no checkbox or other mechanism that requires consumers to
24   expressly manifest their assent to the automatic renewal offer terms associated with the WaPo
25   Subscriptions. Similarly, the Parties have opposing views as to whether the WaPo Subscriptions
26   qualify as “goods, wares, merchandise, or products” and are therefore subject to the gift provision
27   under Section 17603 of the ARL, which in turn would give rise to disputes amongst the Parties
28   concerning the proper measure of class-wide damages. See, e.g., McKee v. Audible, Inc., No. 17-

     MOTION FOR AWARD OF ATTORNEYS’ FEES, COSTS AND EXPENSES, AND INCENTIVE AWARD                              14
     CASE NO. 3:20-CV-05218-WHO
         Case 3:20-cv-05218-WHO Document 52 Filed 09/03/21 Page 25 of 36




 1   CV-1941-GW (C.D. Cal.) (“[For] Audible members whose only complaint is that they would have
 2   paid less for their membership if Audible’s disclosures were better[,] … [th]e measure of these
 3   [price premium] damages would have been very difficult to quantify[] … and would have required
 4   a battle of experts at great cost to both sides.”); id. (“Several of Plaintiffs’ other claims … raised
 5   questions of whether causation and damages could be proved if Audible members had reasonable
 6   notice of credit expiration terms, auto-pay terms, and back-up card charging terms even though the
 7   technical requirements of the … [ARL] were not met at sign up.”); Williamson v. McAfee, Inc.,
 8   2014 WL 4220824, at *7 (N.D. Cal. Aug. 22, 2014) (“Plaintiff cannot state a CLRA claim [based
 9   on alleged violations of the ARL] because [the products at issue do not] constitute ‘goods’ or
10   ‘services’ under that statute. … Accordingly, the court will dismiss Plaintiff's CLRA claim without
11   leave to amend.”); Cody v. SoulCycyle Inc., 2017 WL 6550682, at *3 (C.D. Cal. Oct. 3, 2017)
12   (observing causation of damages from expired classes would be difficult to prove); see also 9/3/21
13   Klorczyk Decl. ¶ 5. Defendant would also probably raise an affirmative defense that it is exempt,
14   pursuant to Section 17604, from liability for purely technical ARL violations because it
15   substantially complied with its statutory obligations under the ARL in good faith. 9/3/21 Klorczyk
16   Decl. ¶¶ 7, 32. Thus, the magnitude and complexity of the litigation support the requested fee.6
17          Moreover, given the early stage of this litigation, there are numerous risks associated with
18   continued litigation. The next steps in the litigation would have been for Plaintiff to oppose
19   Defendant’s Motion to Dismiss and resolution of the Motion by the Court, the start of discovery,
20   including Party depositions, substantial document discovery, and contested motions for summary
21   judgment and class certification, which would be at minimum costly and time-consuming for the
22   Parties and the Court and create risk that a litigation class would not be certified and/or that the
23   Settlement Class would recover nothing at all. See Settlement ¶¶ J-K. For instance, even assuming
24   that Plaintiff were to survive a summary judgment motion, she would likely face the risk of
25

26   6
      Open questions of law include, but are not limited to, issues concerning: application of the ARL’s
     gift provision under Section 17603 to digital products; application of the good faith safe harbor
27   provision under Section 17604 of the ARL; and what it means under the ARL to present disclosures
     “in visual proximity” (Cal. Bus. & Prof. Code § 17602(a)(1)), to obtain “affirmative consent” (id. §
28   17602(a)(2)), and to “compl[y] … [with the ARL] in good faith” (id. § 17604).

     MOTION FOR AWARD OF ATTORNEYS’ FEES, COSTS AND EXPENSES, AND INCENTIVE AWARD                           15
     CASE NO. 3:20-CV-05218-WHO
       Case 3:20-cv-05218-WHO Document 52 Filed 09/03/21 Page 26 of 36




 1   establishing liability at trial as a result of conflicting expert testimony between her own expert
 2   witnesses and Defendant’s expert witnesses. In this “battle of experts,” it is virtually impossible to
 3   predict with any certainty which testimony would be credited, and ultimately, which expert version
 4   would be accepted by the jury. The experience of Class Counsel has taught them that these
 5   considerations can make the ultimate outcome of a trial highly uncertain. And certainly, the
 6   “parties would incur significant additional costs in discovery, including depositions, … a survey of
 7   [defendant’s] customers regarding the materiality of the alleged misrepresentations, and expert
 8   discovery.” Larsen, 2014 WL 3404531, at *4. In sum, given that “significant procedural hurdles
 9   remain, including class certification and an anticipated appeal[,]” continuation of this lawsuit
10   would entail “lengthy and expensive litigation with uncertain results.’” Id. (citation and quotations
11   omitted). This uncertainty of recoupment based on the merits of Plaintiff’s claims further justifies
12   Class Counsel’s fee request.
13                          c.      Class Counsel Generated Benefits Beyond The Settlement Fund
14          Third, an upward adjustment is justified here because Class Counsel’s “performance
15   generated benefits beyond the cash settlement fund.” Vizcaino, 290 F.3d at 1049. Plaintiff’s and
16   Class Counsel’s claims and arguments thus caused Defendant to change its conduct in multiple
17   ways that benefit both current Class Members and future California consumers who may enroll in
18   an automatically renewing WaPo Subscription. Specifically, in addition to the monetary and in-
19   kind relief provided, the Settlement also provides injunctive relief that requires WaPo to revise its
20   advertisements, disclosures, and terms to ensure that millions of current and future subscribers
21   make informed decisions related to purchasing decisions and cancellation. Settlement ¶ 2.3; see
22   also 9/3/21 Klorczyk Decl. ¶ 26. The injunctive relief is broad, meaningful, and resolves most of
23   the complaints that Plaintiff raised concerning Defendant’s advertising and notice practices. Id.
24   The lawsuit focused largely on the clarity, content, and timing of Defendant’s disclosures and
25   statements (and omissions) concerning its billing practices, cancellation policy, and other material
26   automatic renewal offer terms associated with the WaPo Subscriptions. The formal injunctive
27   relief ensures that every future WaPo subscriber will receive – at the time of sign-up – clear and
28   conspicuous written notice of all of WaPo’s subscription membership terms, cancellation policies,

     MOTION FOR AWARD OF ATTORNEYS’ FEES, COSTS AND EXPENSES, AND INCENTIVE AWARD                         16
     CASE NO. 3:20-CV-05218-WHO
         Case 3:20-cv-05218-WHO Document 52 Filed 09/03/21 Page 27 of 36




 1   billing practices in a manner consistent with the intentions of the California legislature. See 9/3/21
 2   Klorczyk Decl. ¶ 5; see also Knapp, 283 F. Supp. 3d at 833 (“The Settlement Agreement also
 3   provides for injunctive relief, so class members that choose to continue doing business with
 4   Art.com will benefit from this aspect as well.”).7
 5          Although the $6.7 million valuation does not account for the value of this injunctive relief,
 6   these changes are meaningful and constitute significant benefits to the class. See, e.g., Larsen,
 7   2014 WL 3404531, at *9 (Orrick, J.) (“The Settlement Agreement also provides the equitable relief
 8   that Trader Joe’s will stop using the disputed labels. These are significant benefits to the class.”);
 9   Vizcaino, 290 F.3d at 1049 (allowing an upward adjustment to the lodestar in part because
10   “counsel’s performance generated benefits beyond the cash settlement fund”); id. (“[A]s a result of
11   this litigation, many workers who otherwise would have been classified as contingent workers
12   received the benefits associated with full time employment. Incidental or non-monetary benefits
13   conferred by the litigation are a relevant circumstance.”); In re Pac. Enterprises Sec. Litig., 47 F.3d
14   373, 379 (9th Cir. 1995) (finding upward adjustment from 25% benchmark “justified because of
15   the complexity of the issues and the risks … [and the $12 million settlement valuation] does not
16   reflect the nonmonetary benefits in the derivative settlement” affirming 33% fee award) (emphasis
17   added); see also Bebchick v. Washington Metro. Area Transit Comm’n, 805 F.2d 396, 408 (D.C.
18   Cir. 1986) (“[W]e think that an upward adjustment to the lodestar is appropriate to reflect the
19   benefits to the public flowing from this litigation.”).
20                          d.      Market Rates As Reflected by Awards in Similar Cases
21          Fourth, an award of 29% of the total settlement value in fees here is consistent with market
22   rates as reflected by awards made in similar cases. Indeed, courts in this Circuit routinely approve
23   fee requests for up to one-third of a common fund. See, e.g., Blandino, 2014 WL 11369763, at *3
24
     7
25     WaPo is also providing Class Members with an Active Annual WaPo Subscription with “a one-
     time additional acknowledgement email at least 30 days before their next renewal date that provides
26   those subscribers with notice that their subscription will renew and includes a clear link to directions
     on how to cancel that subscription.” Settlement ¶ 2.3. WaPo will also provide Class Members with
27   an Active Four-Week WaPo Subscription as of June 27, 2021 with a similar “one-time additional
     acknowledgement email at least 7 days before their next renewal date[.]” Id. These supplemental
28   notice emails are designed ensure that Class Members are able to cancel their active WaPo
     subscriptions before they are charged yet again.
     MOTION FOR AWARD OF ATTORNEYS’ FEES, COSTS AND EXPENSES, AND INCENTIVE AWARD                        17
     CASE NO. 3:20-CV-05218-WHO
       Case 3:20-cv-05218-WHO Document 52 Filed 09/03/21 Page 28 of 36




 1   (Orrick, J.) (awarding fee of 33%) (“In accordance with the terms set forth in the Settlement
 2   Agreement, Class Counsel shall be paid a fee award of thirty percent of the Gross Settlement
 3   Payment[.]”); Larsen, 2014 WL 3404531, at *9 (Orrick, J.) (“[Class counsel’s] request for
 4   attorneys’ fees in the amount of 28% of the common fund falls within the range of acceptable
 5   attorneys’ fees in Ninth Circuit cases.”); In re Mego Fin. Corp. Sec. Litig., 213 F.3d 454, 457, 460
 6   (9th Cir. 2000) (affirming 33.5% fee award); Linney v. Cellular Alaska P’ship, 1997 WL 450064,
 7   at *7 (N.D. Cal. July 18, 1997), aff’d, 151 F.3d 1234 (9th Cir. 1998) (affirming 33.3% fee award)
 8   (“The $2,000,000 requested by class counsel amounts to one-third of this common fund. … Courts
 9   in this district have consistently approved attorneys’ fees which amount to approximately one-third
10   of the relief procured for the class. … As the attorneys’ fees requested by class counsel are
11   reasonable in amount and were procured in an adversarial manner, the Court hereby GRANTS
12   class counsel’s motion for the provision of attorneys’ fees in the amount of $2,000,000.”); In re
13   Pac. Enterprises Sec. Litig., 47 F.3d 373, 379 (9th Cir. 1995) (affirming 33% fee award); Vasquez
14   v. Coast Valley Roofing, Inc., 266 F.R.D. 482, 491 (E.D. Cal. 2010) (noting that “[t]he typical
15   range of acceptable attorneys’ fees in the Ninth Circuit is 20% to 33 1/3% of the total settlement
16   value”); In re Activision Sec. Litig., 723 F. Supp. 1373, 1375 (N.D. Cal. 1989) (awarding fee of
17   32.8%); Garner v. State Farm Mut. Auto. Ins. Co., 2010 WL 1687829, at *1 (N.D. Cal. Apr. 22,
18   2010) (“A fee award of 30 percent is within the ‘usual range’ of fee awards that Ninth Circuit
19   courts award in common fund cases.”); Vizcaino, 290 F.3d at 1050 (finding a 28% fee award “to be
20   at or below the market rate” and affirming district court award of same).
21          Further, the relief offered under this Settlement plainly meets or exceeds settlements in
22   other ARL matters. For example, the Southern District of New York recently granted preliminary
23   approval to a similar class-wide settlement under California’s ARL, negotiated by the same
24   proposed Class Counsel, in Moses v. The New York Times Company, No. 1:20-cv-04658-RA
25   (S.D.N.Y.). See 9/3/21 Klorczyk Decl. ¶ 49; see also id. Ex. 16, Plaintiff’s Unopposed Motion for
26   Preliminary Approval of Class Action Settlement in Moses v. The New York Times Company, No.
27   1:20-cv-04658-RA (S.D.N.Y.) (ECF No. 42) (“Moses Preliminary Approval Brief”); id. Ex. 17,
28   Order Granting Preliminary Approval in Moses v. The New York Times Company, No. 1:20-cv-

     MOTION FOR AWARD OF ATTORNEYS’ FEES, COSTS AND EXPENSES, AND INCENTIVE AWARD                        18
     CASE NO. 3:20-CV-05218-WHO
         Case 3:20-cv-05218-WHO Document 52 Filed 09/03/21 Page 29 of 36




 1   04658-RA (S.D.N.Y.) (ECF No. 43) (“Moses Preliminary Approval Order”). Under the terms the
 2   Moses settlement, the defendant agreed to “automatically provide over $3,900,000 worth of access
 3   codes … to Class Members who do nothing during the claims process,” and to “establish a non-
 4   reversionary $1,650,000 cash Settlement Fund which will be used to pay all approved claims by
 5   class members.” 9/3/21 Klorczyk Decl. Ex. 4, Moses Preliminary Approval Brief at 1. Thus, the
 6   total value of the Moses settlement was approximately $5,563,000, with a class of nearly 900,000
 7   California subscribers. Id. By comparison, the proposed Settlement here distributes more cash and
 8   more credits to fewer persons than the Moses settlement, ultimately resulting in significantly more
 9   relief per Class Member:
10
                                       Jordan Settlement                       Moses Settlement
11
                             $6,736,690 Total Value                    $5,563,000 Total Value
12       Settlement Fund     ($2,400,000 cash + $4,336,690             ($1,650,000 cash + $3,913,000
                             Automatic Account Credit Codes)           Automatic Access Codes)
13
         Class Members       319,395                                   875,000
14
         Value Per Class     $21.09                                    $6.36
15       Member

16   Compare Settlement ¶ 2.2 (providing that Settlement Class Members that submit a valid Claim
17   Form are eligible to receive a pro rata cash payment, which the Parties estimate will be $20 per
18   Annual Class Member and $10 per Four-Week Class Member), with 9/3/21 Klorczyk Decl. Ex. 16,
19   Moses Preliminary Approval Brief at 14 (estimating a pro rata cash payment from the Settlement
20   Fund of “$5.00 per Class Member[.]”). Thus, if the Moses settlement is said to “provide[]
21   substantial relief to the Settlement Class[,]” then the relief of proposed Settlement in this case,
22   which indisputably provides more value to Class Members in this litigation, is truly exceptional.8
23   8
       Further, as this Court has noted, “[f]ee award percentages generally are higher [than 25%] in
24   cases where the common fund is below $10 million.” Alvarez, 2017 WL 2214585, at *3 (Orrick,
     J.); Greko v. Diesel U.S.A., Inc., 2013 WL 1789602 (N.D. Cal. Apr. 26, 2013) (noting that “it is
25   common practice to award attorney’s fees at a higher percentage than the twenty-five percent
     (25%) benchmark in cases that involve a relatively small – i.e., under ten million dollar ($10
26   Million) – settlement fund”) (citation omitted); Cicero v. DirecTV, Inc., 2010 WL 2991486, at *6
     (C.D. Cal. July 27, 2010) (“Indeed, California cases in which the common fund is small, tend to
27   award attorneys’ fees above the 25% benchmark.” ); id. (“[A] review of California cases in other
     districts reveals that courts usually award attorneys’ fees in the 30-40% range in … class actions
28   that result in recovery of a common fund under $10 million[.]”); Craft v. Cnty. Of San Bernardino,

     MOTION FOR AWARD OF ATTORNEYS’ FEES, COSTS AND EXPENSES, AND INCENTIVE AWARD                          19
     CASE NO. 3:20-CV-05218-WHO
       Case 3:20-cv-05218-WHO Document 52 Filed 09/03/21 Page 30 of 36




                            e.     The Contingent Nature Of The Fee And Financial Burden Borne
 1                                 By Class Counsel
 2          Fifth, the requested upward departure is justified given, inter alia, that the novelty of this
 3   case that made it complex presented a substantial risk of non-payment for Class Counsel. See
 4   Vizcaino, 290 F.3d at 1050. “Courts have recognized that the public interest is served by
 5   rewarding attorneys who assume representation on a contingent basis with an enhanced fee to
 6   compensate them for the risk that they might be paid nothing for their work.” Larsen, 2014 WL
 7   3404531, at *9 (Orrick, J.); In re Omnivision, 559 F. Supp. 2d at 1047). Here, the risk of non-
 8   payment featured prominently throughout the current litigation. Indeed, as there are few binding
 9   decisions interpreting the ARL, success on the legal issues presented by this case was far from
10   certain. 9/3/21 Klorczyk Decl. ¶ 32.
11          Moreover, given that “significant procedural hurdles remain” at this early stage of the
12   lawsuit, “including class certification and an anticipated appeal[,]” any continuation of the
13   litigation would further exacerbate the financial risk Class Counsel has undertaken in this matter.
14   Larsen, 2014 WL 3404531, at *9. That is, “[i]n the absence of settlement now, the parties would
15   incur significant additional costs in discovery, including depositions, … a [consumer] survey …
16   regarding the materiality of the alleged misrepresentations[ and omissions of Defendant’s
17   Checkout Page], and expert discovery addressing [consumer perception and the viability of
18   Plaintiff’s theory of class-wide damages].” Id. at *4. As this Court has acknowledged, “[a]voiding
19   such unnecessary and unwarranted expenditure of resources and time would benefit all parties, as
20   well as conserve judicial resources.” Id. (citing Garner v. State Farm Mut. Auto. Ins. Co., 2010
21   WL 1687832, at *10 (N.D. Cal. Apr. 22, 2010)); see also Vizcaino v. Microsoft Corp., 290 F.3d
22   1043, 1048-50 (9th Cir. 2002).
23          Given these risks associated with proceeding in litigation and in collecting on any
24   judgment, an award of 29% in fees is more than reasonable. See, e.g., Chen v. W. Dig. Corp., No.
25   8:19-cv-00909-JLS-DFM (C.D. Cal. Jan. 13, 2021) (“[T]he Court finds that the requested upward
26
     624 F. Supp. 2d 1113, 1127 (C.D. Cal. 2008) (“Cases of under $10 million will often result in fees
27   above 25%.”); Van Vranken v. Atlantic Richfield Co., 901 F. Supp. 294, 297-98 (N.D. Cal. 1995)
     (percentages greater than 30% tend to be awarded in cases with class funds of less than $10
28   million).

     MOTION FOR AWARD OF ATTORNEYS’ FEES, COSTS AND EXPENSES, AND INCENTIVE AWARD                        20
     CASE NO. 3:20-CV-05218-WHO
         Case 3:20-cv-05218-WHO Document 52 Filed 09/03/21 Page 31 of 36




 1   departure from the [Ninth Circuit’s 25%] benchmark rate is warranted here, and awards Class
 2   Counsel $2,382,510, which is equivalent to 30.7% of the Settlement Fund.”).
 3                  4.      The Requested Attorneys’ Fees Are Also Reasonable Under
                            A Lodestar Cross-Check
 4
            Courts in the Ninth Circuit often examine the lodestar calculation as a crosscheck on the
 5
     percentage fee award to ensure that counsel will not receive a “windfall.” Vizcaino, 290 F.3d at
 6
     1050. The cross-check analysis is a two-step process. First, the lodestar is determined by
 7
     multiplying the number of hours reasonably expended by the reasonable rates requested by the
 8
     attorneys. See Barbosa v. Cargill Meat Sols. Corp., 297 F.R.D. 431, 451 (E.D. Cal. 2013).
 9
     Second, the court cross-checks the proposed percentage fee against the lodestar. Id. “Three figures
10
     are salient in a lodestar calculation: (1) counsel’s reasonable hours, (2) counsel’s reasonable hourly
11
     rate and (3) a multiplier thought to compensate for various factors (including unusual skill or
12
     experience of counsel, or the ex ante risk of nonrecovery in the litigation).” Id. (citing In re HPL
13
     Techs., Inc. Sec. Litig., 366 F. Supp. 2d 912, 919 (N.D. Cal. 2005)). Here, the lodestar cross-check
14
     confirms the reasonableness of Class Counsel’s requested fee.
15
                            a.     Class Counsel Spent A Reasonable Number Of Hours On This
16                                 Litigation At A Reasonable Hourly Rate
17          Class Counsel worked very efficiently and without co-counsel. There was no duplication of

18   effort. Class Counsel’s detailed daily billing records, which show what work was done and by

19   whom confirm Bursor & Fisher’s efficient billing in this case. See 9/3/21 Klorczyk Decl. Ex. 2.

20   The blended hourly rate for Bursor & Fisher’s work of $572, which is quite reasonable. And the

21   hourly rates for each of the lawyers who staffed the case, which are set forth in Exhibit 2 of the

22   Klorczyk Declaration, are also reasonable and amply supported by the evidentiary material

23   submitted with the Klorczyk Declaration, id. Exs. 4-12. See also id. ¶ 42-46. These hourly rates

24   are comparable to rates charged by attorneys with similar experience, skill, and reputation, for

25   similar services in the California legal market. See id. ¶¶ 44-46.9 See, e.g., In re Amgen Inc. Sec.

26
     9
       The Supreme Court and other courts have held that the use of current rates is proper since such
27   rates compensate for inflation and the loss of use of funds. See, e.g., Missouri v. Jenkins, 491 U.S.
     274, 283-84 (1989) (recognizing “an appropriate adjustment for delay in payment—whether by the
28   application of current rather than historic hourly rates or otherwise”).

     MOTION FOR AWARD OF ATTORNEYS’ FEES, COSTS AND EXPENSES, AND INCENTIVE AWARD                         21
     CASE NO. 3:20-CV-05218-WHO
       Case 3:20-cv-05218-WHO Document 52 Filed 09/03/21 Page 32 of 36




 1   Litig., 2016 WL 10571773, at *9 (C.D. Cal. Oct. 25, 2016) (approving “a billing rate ranging from
 2   $750 to $985 per hour for partners, $500 to $800 per hour for ‘of counsels’/senior counsel, and
 3   $300 to $725 per hour for other attorneys”); id. (“The Court has reviewed the attorneys’ hourly
 4   rates and hours worked, and found them reasonable, given the duration of this litigation and the
 5   favorable settlement for the class”); In re Toyota Motor Corp. Unintended Acceleration Mktg.,
 6   Sales Practices, and Products Liability Litig., No. 10-ml- 02151 NS (FMOx), Dkt. No. 3933 (C.D.
 7   Cal. June 24, 2013) (finding that “[c]lass counsel’s experience, reputation, and skill, as well as the
 8   complexity of the case” justified their rates that ranged from $150 to $950); Negrete v. Allianz Life
 9   Ins. Co. of N. Am., 2015 U.S. Dist. LEXIS 168586, at *51-52 (C.D. Cal. Mar. 17, 2015) (finding
10   hourly rates ranging from $335 to $905 “reasonable for complex class action litigation in Los
11   Angeles”).
12          Furthermore, numerous courts have found Bursor & Fisher’s rates reasonable. See 9/3/21
13   Klorczyk Decl. ¶¶ 44; see also, e.g., Perez v. Rash Curtis & Assocs., 2020 WL 1904533, at *20
14   (N.D. Cal. Apr. 17, 2020) (approving Bursor & Fisher’s fee motion and determined that their rates
15   were “within a reasonable range for rates charged in this district for comparable work”); West
16   California Service Bureau, Case No. 4:16-cv-03124-YGR, ECF No. 128 (N.D. Cal. Jan. 23, 2019);
17   Dei Rossi v. Whirlpool, 2:12-cv-00125-TLN-CKD, ECF Nos. 181-1 and 188 (2017) (approving fee
18   request where Bursor & Fisher submitted hourly rates of up to $875 per hour for partners and $450
19   per hour for associates); Zakskorn v. Am. Honda Motor Co., 2015 WL 3622990, *13-15 (E.D. Cal.
20   Jun. 9, 2015) (approving fee request where Bursor & Fisher submitted hourly rates of up to $850
21   per hour for partners and $450 per hour for associates).
22                          b.      All Relevant Factors Support Applying A Multiplier To Class
                                    Counsel’s Lodestar
23
            The lodestar analysis is not limited to the initial mathematical calculation of Class
24
     Counsel’s base fee. See Morales v. City of San Rafael, 96 F.3d 359, 363-64 (9th Cir. 1996).
25
     Rather, Class Counsel’s actual lodestar may be enhanced according to those factors that have not
26
     been “subsumed within the initial calculation of hours reasonably expended at a reasonable rate.”
27
     Hensley v. Eckerhart, 461 U.S. 424, 434 n.9 (1983) (citation omitted); see also Morales, 96 F.3d at
28

     MOTION FOR AWARD OF ATTORNEYS’ FEES, COSTS AND EXPENSES, AND INCENTIVE AWARD                       22
     CASE NO. 3:20-CV-05218-WHO
          Case 3:20-cv-05218-WHO Document 52 Filed 09/03/21 Page 33 of 36




 1   364. Here, a fee award of 29%, or $2,000,000, represents a multiplier of approximately 5.5 over
 2   Class Counsel’s base lodestar fee of $355,307.50. 9/3/21 Klorczyk Decl. ¶ 39; see also, e.g.,
 3   Steiner v. Am. Broad. Co., 248 F. App'x 780, 783 (9th Cir. 2007) (affirming award with multiplier
 4   of 6.85); Craft, 624 F. Supp. 2d at 1125 (approving fee award resulting in a multiplier of 5.2,
 5   collecting similar cases); Aguilar v. Wawona Frozen Foods, 2017 WL 2214936, at *6 (E.D. Cal.
 6   May 19, 2017) (“courts typically approve percentage awards based on lodestar cross-checks of 1.9
 7   to 5.1 or even higher”).10
 8           In considering the reasonableness of attorneys’ fees and any requested multiplier, the Ninth
 9   Circuit has directed district courts to consider the time and labor required, novelty and complexity
10   of the litigation, skill and experience of counsel, the results obtained, and awards in similar cases.
11   Blum v. Stenson, 465 U.S. 886, 898-900 (1984); Kerr v. Screen Extras Guild, Inc., 526 F.2d 67, 70
12   (9th Cir. 1975).11 Class Counsel discussed most of these factors above and all weigh heavily in
13   favor of a multiplier and the requested fee award in this action. See Parts IV(A)(3)(a)-(e), supra
14   (discussing the factors justifying an upward adjustment from the 25% benchmark). In addition to
15   the discussion above, a critical factor bearing on fee petitions in Ninth Circuit courts is the level of
16   risk of non-payment faced by Class Counsel at the inception of the litigation. See, e.g., Vizcaino,
17   290 F.3d at 1048. The contingent nature of Class Counsel’s fee recovery, coupled with the
18   uncertainty that any recovery would be obtained, are significant. In re Wash. Pub. Power Supply
19   10
        See, e.g., In re Cenco Inc. Sec. Litig., 519 F. Supp. 322 (N.D. Ill. 1981) (approving multiplier of
20   4 in securities class action); Rabin v. Concord Assets Grp., Inc., 1991 U.S. Dist. LEXIS 18273
     (S.D.N.Y. Dec. 19, 1991) (approving multiplier of 4.4 in securities class action); Municipal Auth.
21   of Bloomsburg v. Pennsylvania, 527 F. Supp. 982 (M.D. Pa. 1981) (approving multiplier of 4.5); In
     re Beverly Hills Fire Litig., 639 F. Supp. 915 (E.D. Ky. 1986) (approving multiplier of up to 5);
22   Roberts v. Texaco, Inc., 979 F. Supp. 185 (S.D.N.Y. 1997) (approving multiplier of 5.5); Bos. &
     Maine Corp. v. Sheehan, Phinney, Bass & Green, P.A., 778 F.2d 890 (1st Cir. 1985) (approving
23   multiplier of 6); Muchnick v. First Fed. Savs. & Loan Assoc. of Phil., 1986 U.S. Dist. LEXIS
     19798 (E.D. Pa. Sept. 30, 1986) (approving multiplier of 8.3 in a consumer class action); Cosgrove
24   v. Sullivan, 759 F. Supp. 166 (S.D.N.Y. 1991) (approving multiplier of 8.74); Perera v. Chiron
     Corp., Civ. No. 95-20725-SW (N.D. Cal. 1999, 2000) (approving multiplier of 9.14; cited in
25   California Class Actions and Coordinated Proceedings §15.05).
     11
        Where a court is calculating a fee award based solely on counsel’s lodestar, the lodestar figure
26   may be adjusted upward or downward by use of a multiplier to account for factors including, but
     not limited to: (i) the quality of the representation; (ii) the benefit obtained for the class; (iii) the
27
     complexity and novelty of the issues presented; and (iv) the risk of nonpayment. Hanlon, 150 F.3d
28   at 1029; see also Kerr, 526 F.2d at 70 (identifying twelve factors courts may consider in analyzing
     the reasonableness of an attorneys’ fee request).
     MOTION FOR AWARD OF ATTORNEYS’ FEES, COSTS AND EXPENSES, AND INCENTIVE AWARD                         23
     CASE NO. 3:20-CV-05218-WHO
          Case 3:20-cv-05218-WHO Document 52 Filed 09/03/21 Page 34 of 36




 1   Sys. Sec. Litig., 19 F.3d 1291, 1300 (9th Cir. 1994). In Wash. Pub. Power, the Ninth Circuit
 2   recognized that:
 3                  It is an established practice in the private legal market to reward attorneys
                    for taking the risk of non-payment by paying them a premium over their
 4                  normal hourly rates for winning contingency cases …. [I]f this ‘bonus’
                    methodology did not exist, very few lawyers could take on the
 5
                    representation of a class client given the investment of substantial time,
 6                  effort, and money, especially in light of the risks of recovering nothing.

 7   Id. at 1299-1300 (citations and quotations omitted).

 8           Throughout this case, Class Counsel expended substantial time and costs to prosecute a

 9   nationwide class action suit with no guarantee of compensation or reimbursement in the hope of

10   prevailing against a sophisticated Defendant represented by high caliber attorneys. See 9/3/21

11   Klorczyk Decl. ¶ 32. Class Counsel obtained a highly favorable result for the Class, knowing that

12   if its efforts were ultimately unsuccessful, it would receive no compensation or reimbursement for

13   its costs. This fact alone supports a finding that Class Counsel is entitled to a multiplier.

14   V.      THE REQUESTED INCENTIVE AWARD FOR THE CLASS REPRESENTATIVE
             IS FAIR AND REASONABLE
15
             In recognition of her efforts on behalf of the Class, and subject to the approval of the Court,
16
     Defendant has agreed to pay the Class Representative up to $5,000 as appropriate compensation for
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     her time and effort serving as the class representative in this litigation. Incentive awards “are fairly
18
     typical in class action cases.” Rodriguez, 563 F.3d at 958. Such awards “are intended to
19
     compensate class representatives for work done on behalf of the class, to make up for financial or
20
     reputational risk undertaken in bringing the action, and, sometimes, to recognize their willingness
21
     to act as a private attorney general.” Id. at 958-59. Incentive awards are committed to the sound
22
     discretion of the trial court and should be awarded based upon the court’s consideration of, inter
23
     alia, the amount of time and effort spent on the litigation, the duration of the litigation and the
24
     degree of personal gain obtained as a result of the litigation. See Van Vranken v. Atl. Richfield Co.,
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     901 F. Supp. 294, 299 (N.D. Cal. 1995). Incentive awards are appropriate when a class
26
     representative will not benefit beyond ordinary class members. For example, where a class
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     MOTION FOR AWARD OF ATTORNEYS’ FEES, COSTS AND EXPENSES, AND INCENTIVE AWARD                          24
     CASE NO. 3:20-CV-05218-WHO
       Case 3:20-cv-05218-WHO Document 52 Filed 09/03/21 Page 35 of 36




 1   representative’s claim makes up “only a tiny fraction of the common fund,” an incentive award is
 2   justified. Id., 901 F. Supp. at 299.
 3          The requested amount of $5,000 for the Class Representative, Plaintiff Deborah Jordan, is
 4   appropriate to compensate her for her efforts in bringing this action for the benefit of hundreds of
 5   thousands of Class Members. Throughout the litigation, Ms. Jordan held regular meetings with
 6   Class Counsel to receive updates on the progress of the case and to discuss strategy. 9/3/21
 7   Klorczyk Decl. ¶¶ 53-55. She assisted in Class Counsel’s pre-suit investigation by discussing her
 8   experiences and providing information on her purchase and use of one of Defendant’s WaPo
 9   Subscriptions, among other matters. Id. Ms. Jordan also assisted in drafting the Complaint, and
10   she reviewed the Complaint for accuracy before it was filed. Id. She was also intimately involved
11   in the settlement process, and has continued to keep abreast of settlement progress to date. Id. Ms.
12   Jordan took significant time away from work and personal activities to initiate and litigate this
13   action, and she was prepared to litigate this case to a verdict if necessary. Id. Her dedication and
14   efforts have conferred a significant benefit on hundreds of thousands of California purchasers of
15   WaPo Subscriptions. Id.
16   VI.    CONCLUSION
17          For the reasons set forth above, Plaintiff respectfully requests that the Court: (1) approve
18   attorneys’ fees, costs, and expenses in the amount of $2,000,000; (2) grant Plaintiff an incentive
19   award of $5,000 in recognition of her efforts on behalf of the Class; and (3) award such other and
20   further relief as the Court deems reasonable and just.
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     MOTION FOR AWARD OF ATTORNEYS’ FEES, COSTS AND EXPENSES, AND INCENTIVE AWARD                         25
     CASE NO. 3:20-CV-05218-WHO
       Case 3:20-cv-05218-WHO Document 52 Filed 09/03/21 Page 36 of 36




     Dated: September 3, 2021             Respectfully submitted,
 1
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     MOTION FOR AWARD OF ATTORNEYS’ FEES, COSTS AND EXPENSES, AND INCENTIVE AWARD            26
     CASE NO. 3:20-CV-05218-WHO
